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               IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

BOB COFFEY, ET AL.,                                )
                                                   )
                       Plaintiffs,                 )
vs.                                                )           NO. CIV-08-0640-HE
                                                   )
FREEPORT-MCMORAN COPPER                            )
& GOLD INC., ET AL.,                               )
                                                   )
                       Defendants.                 )

                                              ORDER

       Plaintiffs, Oklahoma citizens, filed this class action in state court asserting nuisance,

trespass, strict liability and unjust enrichment claims, based on the defendants’ alleged

contamination of their property through operation of the Blackwell Zinc Smelter in

Blackwell, Oklahoma. The defendants are Blackwell Zinc Company, Inc. (“BZC”), the

company that operated the smelter, its parent companies and their successor corporations –

Freeport-McMoRan Copper & Gold, Inc., Phelps Dodge Corp., Cyprus Amax Minerals Co.,

and Amax, Inc., – the Blackwell Industrial Authority (“BIA”), and BNSF Railway Co. The

defendants removed the case, asserting jurisdiction under the Class Action Fairness Act of

2005 (“CAFA”), the Comprehensive Environmental Response, Compensation, and Liability

Act (“CERCLA”),1 and 28 U.S.C. §1442(a)(1), federal officer removal.2 The plaintiffs have

       1
         “The official title of CERCLA, also known as Superfund, is the Comprehensive
Environmental Response, Compensation, and Liability Act, Pub.L. No. 96-510, 94 Stat. 2767 (1980),
as amended by the Superfund Amendments and Reauthorization Act of 1986, Pub.L. No. 99-499, 100
Stat. 1613 (1986) (codified at 42 U.S.C. §§ 9601-9675). The core of the CERCLA cleanup program
is the National Contingency Plan, 40 C.F.R. Part 300, which establishes response procedures.”
New Mexico v. General Elec. Co., 467 F.3d 1223, 1227 (10th Cir. 2006).
       2
        “A state-court action may be removed to federal court if it qualifies as a ‘civil action ... of
which the district courts of the United States have original jurisdiction,’ unless Congress expressly
provides otherwise.” Rivet v. Regions Bank of Louisiana, 522 U.S. 470, 474 (1998) (quoting 28
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filed a motion to remand, contending the court lacks subject matter jurisdiction.

                                      BACKGROUND3

       BZC owned and operated a smelter, used to refine zinc and cadmium ore concentrates,

in Blackwell, Oklahoma from 1916 until 1974. In 1974, it dismantled the facility and

donated the land to the Blackwell Industrial Authority (“BIA”).4 The BIA developed the

property as an industrial park. Currently known as the Blackwell Industrial Park, the site5

consists of approximately 160 acres located one-half mile west of downtown Blackwell.

       In 1992 the Environmental Protection Agency (“EPA”) indicated Blackwell might be

designated a Superfund site and placed on the National Priorities List if investigation and

remedial efforts did not begin. That year BZC, the BIA and the City of Blackwell entered

into a Consent Agreement and Final Order with the Oklahoma State Department of Health

“to characterize and remediate the environmental contamination at the old Smelter site and

on city property.” Petition, ¶ 12. Two years later, in 1994, the Oklahoma Department of




U.S.C. § 1441(a)).
       3
         The case history, taken from the petition and documents submitted by the parties, is limited
to the facts necessary to place in context the parties’ allegations and arguments and the issues that
must be decided.
       4
       The BIA is a public trust of the State of Oklahoma whose sole beneficiary is the City of
Blackwell.
       5
         The “site” for purposes of the remediation plan includes other areas in and about the City
of Blackwell. Notice of Removal, Exhibit C, Figure 1, 3-5 (Record of Decision Document – Soil
Remediation Unit). The court will initially specify the document to which an exhibit is attached and
its identifying number or letter. Thereafter, exhibits will simply be referred to by their titles.

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Environmental Quality (“ODEQ”)6 and the EPA entered into a Memorandum of

Understanding (“MOU”)7 regarding remedial action to be taken in response to the release of

hazardous substances at the Blackwell Zinc Site (“Site”).8 The purpose of the MOU was to

“ensure prompt CERCLA-Quality Cleanup of the Site,” but conserve EPA resources by

allowing ODEQ to develop and implement a remediation plan for the Site.

       The MOU required ODEQ to submit drafts of its proposed Plan, Decision Document,9

and Remedial Design to the EPA for its review and comment, present to the EPA the

procedures selected to complete the Remedial Design/Remedial Action (“RD/RA”), submit

written quarterly and yearly progress reports, and arrange for EPA representatives to have

access to the Site. The MOU provided that “[i]f, at any time, EPA determines that ODEQ

is overseeing or conducting remedial action, at the Site, which is inconsistent with CERCLA,

or the NCP, or which is not a CERCLA-Quality Cleanup, this MOU shall terminate.” MOU,

p. 10.10 See Notice of Removal, Exhibit C, Record of Decision Document (“ROD”), p. 7


       6
        The ODEQ assumed the environmental responsibilities of the Oklahoma State Department
of Health in July, 1993.
       7
        Notice of Removal, Exhibit B.
       8
         As noted by the defendants, the Site, as depicted in the map attached to the MOU, was not
limited to the smelter site, but covered essentially all of Blackwell. See Notice of Removal, Exhibit
E, Second Five-Year Review Report, pp. 8-12.
       9
      The Decision Document was “analogous to a Record of Decision at a Superfund Site.”
MOU, p. 4.
       10
        The National Contingency Plan or NCP “specifies the roles of the federal and state
governments in responding to hazardous waste sites, and establishes the procedures for making
cleanup decisions. The Plan provides that once a hazardous waste site is identified, [the site]
should be evaluated to determine whether a remedial action is required. This evaluation involves

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(“EPA agreed to not make a final determination to list the Site on the National Priorities List

(NPL) as long as the pilot project proceeds in a timely manner and achieves CERCLA quality

results.”).

       The Site was divided into three operable units – the Soil Remediation Unit (“SRU”),

the Ecological Remediation Unit (“ERU”) and the Ground Water Remediation Unit (“GRU”)

– to allow soil remediation to proceed in advance of the other units. The SRU dealt “with

soil contamination in residential, recreational, and commercial/industrial areas on the site.”

ROD, p. 1. The ERU included “areas subject to ecological risk-based remediation goals,”

such as grasslands, riparian areas, and streams. The GRU pertained to contaminated

groundwater.11

       In April, 1996, ODEQ issued its Record of Decision, which specified the remediation

plan for the SRU. Remediation efforts began, principally consisting of soil removal and the

capping in place of impacted soil. In July, 2001, the Final Remedial Action Completion

Report (“Final Report”) for the SRU was issued, which documented that “the construction

of the remedy as prescribed within the Final Remedial Design Report, Blackwell Zinc Site

Soil Remediation Unit, Blackwell, Oklahoma, PTI, May 1999 was substantially complete in



an intensive remedial investigation/feasibility study, which identifies the possible remedial
alternatives. On the basis of that study, the EPA proposes the selected remedy, after which there
follows a period for public comment. The cleanup plan is then finalized, and the EPA's remedy
decision is documented in a record of decision.” United States v. City and County of Denver, 100
F.3d 1509, 1511 (10th Cir. 1996).
       11
        The ROD noted that the groundwater contamination was a low level threat, because the
water was not used for public or private water supply.

                                               4
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1999 with final completion in 2000.” Notice of Removal, Exhibit E, Second Five-Year

Review Report (“Second Report”), p. iii. The Second Report, dated April, 2008, states that

BZC had undertaken a second residential soil sampling program and that “[t]hrough May

2008, access agreements for over 3,400 properties had been obtained and sampling is in

progress. Based on results, some properties will require cleanup. Cleanup will begin in May

2008.” Id. The Report also states that:

        Construction is complete for those properties within the SRU that were
        identified and addressed prior to ODEQ’s approval of the FRACR.12
        Additional properties are currently being evaluated under a supplemental soil
        sampling program. With respect to those additional properties, the
        remediation status is “under construction.”

Id. at p. iv.

        In April, 2008, the plaintiffs filed this class action in state court, asserting state

common law claims and seeking both monetary and equitable relief.13 The defendants

removed the case, asserting three bases for federal jurisdiction: CAFA, CERCLA and federal

officer.

CAFA

        CAFA “extends the subject matter jurisdiction of the federal courts to encompass

putative class actions in which at least one plaintiff class member is diverse from one


        12
             The Final Remedial Action Completion Report.
        13
         In considering the motion to remand, the court has reviewed the evidentiary submissions
of the parties. Radil v. Sanborn Western Camps, Inc., 384 F.3d 1220, 1224 (10th Cir.2004).
(“Where a party attacks the factual basis for subject matter jurisdiction, the court does not presume
the truthfulness of factual allegations in the complaint, but may consider evidence to resolve
disputed jurisdictional facts.” ).

                                                 5
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defendant and where the amount in controversy exceeds $5 million.” Weber v. Mobil Oil

Corp., 506 F.3d 1311, 1313 (10th Cir. 2007). “In enacting CAFA, Congress was responding

to what it perceived as abusive practices by plaintiffs and their attorneys in litigating major

interstate class actions in state courts, which had ‘harmed class members with legitimate

claims and defendants that ha[d] acted responsibly,’ ‘adversely affected interstate

commerce,’ and ‘undermined public respect for our judicial system.’” Amoche v. Guarantee

Trust Life Ins. Co., 556 F.3d 41, 47 (10th Cir. 2009) (quoting CAFA, Pub.L. No. 109-2,

§2(a), 119 Stat. 4, 4 (2005)). Although “CAFA’s language favors federal jurisdiction over

class actions,” Evans v. Walter Indus., Inc., 449 F.3d 1159, 1163 (11th Cir. 2006), Congress

“did not give federal courts jurisdiction over all class actions, specifically excluding those

consisting of ‘primarily local matters.’” Johnson v. Advance America, 549 F.3d 932, 938

(4th Cir. 2008), citing Sen. Rep. No. 109-14, at 6 (2005). The plaintiffs argue that their

lawsuit constitutes a “truly local dispute,” which falls within the “local controversy”

exception to CAFA. That exception provides in relevant part:

       A district court shall decline to exercise jurisdiction ...-
       (A)(i) over a class action in which-
              (I) greater than two-thirds of the members of all proposed plaintiff
         classes in the aggregate are citizens of the State in which the action was
         originally filed;
              (II) at least 1 defendant is a defendant-
                       (aa) from whom significant relief is sought by members of the
                       plaintiff class;
                       (bb) whose alleged conduct forms a significant basis for the
                       claims asserted by the proposed plaintiff class; and
                       (cc) who is a citizen of the State in which the action was
                       originally filed; and
              (III) principal injuries resulting from the alleged conduct or any related

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            conduct of each defendant were incurred in the State in which the action
            was originally filed; and
           (ii) during the 3-year period preceding the filing of that class action, no
       other class action has been filed asserting the same or similar factual
       allegations against any of the defendants on behalf of the same or other
       persons.”14

28 U.S.C. § 1332(d)(4)(A). While the defendants must establish under CAFA that the

amount in controversy and minimal diversity requirements are met, Amoche, 556 F.3d at 48,

the plaintiffs bear the burden of proving that one of the exceptions to federal jurisdiction

applies. Evans, 449 F.3d at 1164-65.

       There is no dispute here that the defendants have met their initial burden of showing

the existence of diversity jurisdiction under CAFA. See 28 U.S.C. § 1332(d)(2). The

question is whether the plaintiffs have met their burden to establish an applicable exception.

In particular, have the plaintiffs satisfied the “significant defendant” prong of the local

controversy exception? See generally Evans, 449 F.3d at 1163 (“CAFA’s legislative history

suggests that Congress intended the local controversy exception to be a narrow one, with all

doubts resolved ‘in favor of exercising jurisdiction over the case.’”) (quoting S.Rep. No. 109-

14 at 42, U.S.Code Cong. & Admin. News 3, 40). For the exception to apply, the proposed

class must seek significant relief from an in-state defendant whose conduct forms a



       14
          The statute refers to prior class actions filed “against any of the defendant on behalf of the
same or other persons.” 28 U.S.C. § 1332(4)(A)(ii) (emphasis added). The plaintiffs have submitted
evidence that their research did not disclose “any other class action filed asserting the same or
similar allegations against any of the Defendants in this case on behalf of the same putative class.”
Plaintiffs’ Motion to Remand, Exhibit 11, Langston Declaration. The plaintiffs stated during the
hearing on their motion to remand, and the defendants made no assertion to the contrary, that there
has not been a similar class action filed by any persons within the specified three year period.

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significant basis for their claims. The plaintiffs argue that both Blackwell Zinc Company

(“BZC”) and the Blackwell Industrial Authority (“BIA”) are “significant defendants.”

BZC

       The initial question is whether BZC is an in-state/Oklahoma corporation. As BZC is

incorporated in New York, its principal place of business must be in Oklahoma for it to be

considered an Oklahoma citizen. See Gadlin v. Sybron Int’l Corp. 222 F.3d 797, 799 (10th

Cir. 2000). The defendants claim BZC has not conducted sufficient business to have a

principal place of business in Blackwell “since at least the time that Phelps Dodge

Corporation (now Freeport-McMoRan Corporation) acquired BZC’s parent corporation

Cyprus Amax, in 1999.” Defendants’ response, p. 29. BZC’s corporate secretary has

attested that, since 1999, the company “has conducted no business, other than following the

formalities to keep the corporation in existence.” Defendants’ Notice of Removal, Exhibit

G, Currault affidavit. The defendants also have submitted testimony that BZC has no

significant assets and is not engaged in any revenue-generating operations. However, in

2006, BZC filed a permit application with ODEQ for the Blackwell Zinc Site Groundwater

Treatment Plant, whose stated purpose was to treat groundwater contaminated “by past

operation-- at the former Blackwell Zinc Smelter.”15 Plaintiffs’ motion, Exhibit 4, water

permit. BZC also has engaged in continued remediation efforts in conjunction with the



       15
         The parties do not indicate whether the plant is operating. The Second Report states that
construction of the groundwater treatment plant was expected to commence in 2008. Second
Report, p. 1.

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ROD, including “an extensive community outreach program.”16 Second Report, pp. 14-17

(“BZC also performed several response actions in 2007 in connection with a supplemental

residential soil sampling program (SSP) initiated by BZC that year.”).

       While, as the defendants assert, an inactive corporation that is merely responding to

claims or lawsuits arising from its prior operations may not have a “principal place of

business,” as the term is used in 28 U.S.C. § 1332(c)(1), the court is not persuaded that the

“various environmental response activities that [BZC] has conducted or overseen beginning

in the 1990's,” defendants’ response, p. 29, do not constitute “transacting business” for

jurisdictional purposes. The plaintiffs argue that “[t]he only purpose for the continued

existence of BZC is to clean up pollution in Blackwell left behind by the smelter.” Plaintiffs’

motion, p. 11. Whether or not that is the sole reason for the company’s existence, it appears

to be a substantial activity in which it currently is engaged. The court finds that activity

suffices to establish Oklahoma as BZC’s principal place of business. See Gadlin, 222 F.3d

at 799 (“When determining a corporation's principal place of business, a court should look


       16
           The Second Report states that BZC opened and staffed a community outreach office as part
of its effort to inform Blackwell residents of the opportunity to have their soil sampled. Second
Report, pp. 16-17. Press releases attached to the plaintiffs’ motion to remand indicate that Phelps
Dodge opened the office and undertook, “on Blackwell Zinc’s behalf,” supplemental soil sampling.
Plaintiffs’ response, Exhibits 17-24. The defendants did not challenge the plaintiffs’ assertion of
BZC’s participation in these activities, arguing that “BZC’s activities in response to EPA’s and the
State of Oklahoma’s environmental claims are irrelevant.” Defendants’ response, p. 31.
Consequently, the court concludes the continued remediation efforts and related activities, while
financed by and sometimes executed by employees of other defendants, are attributable to BZC. The
defendants conceded at the hearing that the various activities were conducted for or on behalf of
BZC. See defendants’ response, p. 25 (“BZC has continued to meet its obligations to Oklahoma
Department of Environmental Quality to investigate and remediate impacted areas in Blackwell
....”).

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to the ‘total activity of the company’ or the ‘totality of the circumstances,’ considering ‘the

character of the corporation, its purposes, the kind of business in which it is engaged, and the

situs of its operations.’”) (quoting Amoco Rocmount Co. v. Anschutz Corp., 7 F.3d 909, 915

& n. 2 (10th Cir.1993)).

       Resolving the question of BZC’s citizenship does not end the inquiry though. To

establish the local controversy exception, the plaintiffs also must show that they seek

significant relief from the former smelter operator and that BZC’s conduct forms a significant

basis for their claims. CAFA offers little guidance in defining or supplying “standards for

determining whether the relief sought is ‘significant,’ or for determining which bases for the

plaintiffs’ claims are ‘significant.’” Ava Acupuncture P.C. v. State Farm Mut. Auto. Ins. Co.,

592 F.Supp.2d 522, 528 (S.D.N.Y. 2008). Many courts have concluded that the terms

“significant relief” and “significant basis” are ambiguous, allowing resort to legislative

history, a Senate Committee Report, for their interpretation.17 E.g., Kearns v. Ford Motor

Co., 2005 WL 3967998, at *9-11 (C.D.Cal. 2005). Contra Caruso v. Allstate Ins. Co., 469

F.Supp.2d 364, 370 ( (E.D.La. 2007) (“When, as here, there is no ambiguity in the statutory

language that would warrant looking beyond the plain language of the statute for additional

understanding of Congress’s intent, resort to the legislative history is unnecessary.”) (internal

quotation omitted).



       17
       Cooper v. R.J. Reynolds Tobacco Co., 586 F.Supp.2d 1312, 1321 (M.D.Fla. 2008)
(“CAFA’s legislative history is relatively thin. While there is a Senate Committee Report
accompanying CAFA, there is no corresponding House Committee Report.”).

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       Courts generally have required that the local defendant’s conduct be significant when

compared to the alleged conduct of the other defendants and that “the relief sought against

that defendant is a significant portion of the entire relief sought by the class.” Evans, 449

F.3d at 1167. Several courts have stated that the significant relief inquiry “‘includes not only

an assessment of how many members of the class were harmed by the defendant’s actions,

but also a comparison of the relief sought between all defendants and each defendant’s ability

to pay a potential judgment.’” Id. (quoting Robinson v. Cheetah Transp., 2006 WL 468820,

at *3 (W.D.La. 2006) (opinion of Magistrate Judge), aff’d, 2006 WL 1453036 (W.D.La.

2006) (district court opinion)).

       The defendants do not dispute that BZC’s alleged conduct satisfies the “significant

basis” requirement. As the sole owner and operator of the smelter, BZC clearly played a

principal role in the alleged contamination. The defendants also do not dispute that the class

seeks to recover extensive damages from the in-state defendant. Instead they focus on BZC’s

alleged lack of assets, arguing that a class cannot seek significant relief from a party that is

unable to satisfy any judgment entered against it. Essentially, the defendants claim that a

class can only seek “significant relief” under CAFA from a defendant with “appreciable

assets.” Defendants’ response, p. 13.

       The construction of the phrase “from whom significant relief is sought,” urged by the

defendants originated in Robinson, 2006 WL 468820, at *3. That class action was filed in

state court in Louisiana on behalf of all person who resided or worked in Caldwell Parish on

a certain date and were affected by the closure of the Columbia bridge, which occurred after

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it was struck by a tractor-trailer driven by John Gaston. The putative class representative

sued the truck driver, his employer, the employer’s insurer, and the owner of the truck’s

cargo. All the defendants, with the exception of Gaston, were citizens of states other than

Louisiana. They removed the case to federal court pursuant to CAFA and the plaintiff sought

to have it remanded under the statute’s local controversy exception.

       The court held that the putative class did not seek significant relief from Gaston, the

sole in-state defendant, relying on an example the Senate used to illustrate the local

controversy exception. The example described a products liability class action brought in

Florida on behalf of Floridians against an out-of-state automobile manufacturer and a few

in-state dealers alleging a defective transmission. The Report stated that the

       automobile dealers are not defendants whose alleged conduct forms a
       significant basis of the claims or from whom significant relief is sought by the
       class. Even if the plaintiffs are truly seeking relief from the dealers, that relief
       is just small change compared to what they are seeking from the manufacturer.
       Moreover, the main allegation is that the vehicles were defective. In product
       liability cases, the conduct of a retailer such as an automobile dealer does not
       form a significant basis for the claims of the class members.


S.Rep.No. 109-14, at 41 (2005).

       The Robinson court focused on the Senate’s “small change” comment, concluding

that, “[a]s this statement makes clear, whether a putative class seeks significant relief from

an in-state defendant includes not only an assessment of how many members of the class

were harmed by the defendant’s actions, but also a comparison of the relief sought between

all defendants and each defendant's ability to pay a potential judgment.” Robinson, 2006 WL


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468820, at *3. The court found that Gaston, the only individual named in the suit whom the

plaintiffs had not ever served with process, was “‘just small change,” in comparison to the

remaining defendants, all out-of-state national companies. While his “alleged negligence

may have substantially contributed to the class members’ damages,” the judge held that the

plaintiff would seek most of the relief “from those who are capable of paying it: the corporate

defendants.” Id., at *4.

       Robinson has been quoted in subsequent cases. In some of them, while a defendant’s

financial status was listed as a consideration, it was not actually discussed. Evans, 449 F.3d

at 1167; Cox v. Allstate Ins. Co., 2008 WL 2167027, at *3 (W.D.Okla. 2008); Dunham v.

Coffeyville Res., LLC, 2007 WL 3283774, at *3-4 (D.Kan. 2007); see Cooper v. R.J.

Reynolds Tobacco Co., 586 F.Supp.2d 1312, (M.D.Fla. 2008) (noting that, for purposes of

§1332(d)(4)(B), courts used a variety of tests to define the term “primary defendants,”

including whether a defendant was “most able to satisfy a potential judgment,” but finding

it unnecessary to adopt any test); see generally Phillips v. Severn Trent Envtl. Servs., Inc.,

2007 WL 2757131, at *3 n.4 (E.D.La. 2007) (“The Court acknowledges that Plaquemines

Parish contends in its cross-claim that its contract with Severn Trent for the maintenance of

the Parish's water treatment contains an indemnity provision, but that has no effect on the

determination that the Parish is a significant defendant.”). In others, in which the courts

factored in a defendant’s ability to satisfy a judgment, the facts are distinguishable. For

example, in Escoe v. State Farm Fire and Cas. Co., 2007 WL 1207231 (E.D.La. 2007), the

court concluded that an insurance agent, whom it presumed sold insurance policies to only

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a fraction of the class members and whose ability to pay an potential judgment obviously was

much smaller than State Farm’s,18 was not a significant defendant.19 See Cox, 2008 WL

2167027, at *3-4.        In none of these cases did the court conclude that a defendant in a

position akin to that of BZC was not a significant defendant because of an asserted lack of

assets. Also, here, in contrast to most of the decisions in which a defendant’s ability to

satisfy a judgment has been considered, all putative class members allege claims against the

in-state defendant and seek the identical – injunctive and monetary – relief from all

defendants. Petition, ¶¶37, 111. See generally Notice of Removal, ¶¶30-36.

       Defendants argue that unless the phrase “from whom significant relief is sought” is

construed as “from whom significant relief may actually be obtained,” the two separate

elements of the local controversy exception – significant relief and significant basis – merge.

The argument is unpersuasive. While the requirements may, to some extent, overlap, the

court concludes that the separate significant relief element is satisfied here, where the petition

claims that every potential plaintiff is entitled to recover from the BZC and the proposed

class seeks to collect damages from all the defendants jointly and severally. See Kearns, 2005

WL 3967998, at *10 ( “[Significant] relief must be measured with respect to that sought by



       18
            There also were no class allegations against the agent.
       19
          This holding comports with another example given in the Senate Report to illustrate the
criteria set forth in subclause (aa) of the local controversy exception. It describes a class action
brought as the result of a fraudulent insurance scheme and states that the class presumably would
not seek significant relief from a local company agent as “[h]e or she probably would have had
contact with only some of the purported class members and thus would not be a person from whom
significant relief would be sought by the plaintiff class viewed as a whole.” S.Rep. No. 109-14 at 40.

                                                  14
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the entire class.”).20

       The plaintiffs’ inclusion of other members of the corporate structure as defendants

does not mean the class is not seeking to recover its full damages from BZC. Although the

plaintiffs have “sued a number of legal entities, but one defendant clearly stands before all

the others in importance: [BZC] which own[ed] and operate[d] the [smelter] in question.”

Dunham, 2007 WL 3283774, at *3. See generally Laws v. Priority Trustee Servs. of North

Carolina, L.L.C., 2008 WL 3539512, at *5 (W.D.N.C. 2008) (when plaintiffs were seeking

relief from fees law firm received in connection with foreclosures and codefendant trust

service, allegedly owned by law firm, neither at the time of the lawsuit nor during the time

frame relevant to the plaintiffs’ claims had any assets, trust service was not a defendant from

whom significant relief was sought).

       Although the question is not free from doubt, the court concludes plaintiff’s view of

the “significant defendant” element is most consistent with the statutory language actually

employed by Congress. The CAFA exception refers to a defendant from whom significant

relief is “sought,” rather than a defendant from whom the relief “may be obtained” or “can

be collected” or words of similar import. Further, in other portions of the statute, Congress

used a different term – that of “principal defendants” – to identify defendants from whom the

bulk of any financial recovery would expect to be collected. The Senate Report states:

       For purposes of class actions that are subject to subsections 1332(d)(3) and


       20
        The court is not concluding that a defendant’s ability to satisfy a judgment may never be
considered, but that, in the circumstances present here, that factor is not determinative.

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       (d)(5)(A), the Committee intends that “primary defendants” be interpreted to
       reach those defendants who are the real “targets” of the lawsuit – i.e., the
       defendants that would be expected to incur most of the loss if liability is found.

S.Rep. No. 109-14 at 43. Although it is possible that Congress intended the terms “principal

defendant” and “from whom significant relief is sought” to mean the same thing, it did not

say so. It expressed the principles or elements in different language and the court assumes

that was intentional.

       Based on the statutory language and the specific facts before it,21 the court concludes

that BZC’s status as a significant defendant does not turn on its ability to satisfy any

judgment the class may obtain against it.22 Recognizing that the local controversy exception

“‘is a narrow exception that was carefully drafted to ensure that it does not become a

jurisdiction loophole,” the court nonetheless concludes that BZC is a significant in-state



       21
          While the court does not find the terms “significant relief” and “significant basis” to be
ambiguous, a different conclusion would not be reached regarding BZC’s status as a significant
defendant even if the court construed the language in light of CAFA’s legislative history. See
generally Caruso, 469 F.Supp.2d at 370 (“Additionally, at least two courts of appeals have cast
doubt on the value of the Senate Judiciary Committee Report on CAFA as an interpretive guide,
since it was issued ten days after CAFA was signed into law.”).
       22
          Because of this conclusion, the court need not consider BZC’s current financial status and
its ability to pay a potential judgment. In this case that inquiry, alone, would be a mini trial,
involving consideration of multiple insurance coverage litigation settlement agreements, the
solvency of different carriers, pollution and other policy exclusions, etc. See e.g. defendants’
response, p. 16. See Amoche, 556 F.3d at 50 (“[W]e do not wish to encourage or create a step-by-
step burden shifting system, which would result in extensive and time consuming litigation over the
question of the amount in controversy in CAFA removal cases ... Consideration of this preliminary
issue should not devolve into a mini-trial regarding the amount in controversy.”); 14B Charles Alan
Wright, Arthur R. Miller & Edward H. Cooper, Federal Practice and Procedure § 3702, at 16-17
(3d ed. 1998) (“The federal courts, as well as the parties, naturally are concerned about the efficient
use of their own limited resources and attempt to avoid time-consuming threshold issues that do not
go to the merits.”).

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defendant for purposes of the local controversy exception23 and that this case is “a truly local

controversy – a controversy that uniquely affects a particular locality to the exclusion of all

others.’” Evans, 449 F.3d at 1164 (quoting S.Rep. 109-14, at 39, U.S.Code Cong. & Admin.

News at 38).24 The court does not have subject matter jurisdiction under CAFA.

CERCLA25

       “Congress enacted CERCLA to provide a mechanism for the prompt and efficient

cleanup of hazardous waste sites.” Cannon v. Gates, 538 F.3d 1328, 1332 (10th Cir. 2008),

cert. denied, ___ U.S. ___ (2009) (quoting United States v. City and County of Denver, 100

F.3d 1509, 1511 (10th Cir.1996)).            Federal district courts have “exclusive original

jurisdiction” of CERCLA actions. 42 U.S.C. § 9613(b). CERCLA does not, however,

completely preempt state law claims. See General Elec., 467 F.3d at1244 (“Given these

saving clauses, as well as the spirit of cooperative federalism running throughout CERCLA



       23
         Because only a single significant defendant is required for CAFA’s local controversy
exception to apply, the court need not determine whether the BIA also is a significant defendant
within the meaning of CAFA.
       24
          As the court has found that the local controversy exception applies, there is no need to
consider the plaintiffs’ arguments that remand is warranted under the home state exception, 28
U.S.C. § 1332(d)(4)(B), which requires that “the primary defendants are citizens of the State in
which the action was originally filed,” or CAFA’s discretionary jurisdiction provision, §1332(d)(3).
The court doubts either would apply, though, as Freeport-McMoRan Corporation, Freeport-
McMoRan Copper & Gold Ind., and Cyprus Amax appear to be primary defendants and are not
Oklahoma citizens, and § 1332(d)(3) applies to class actions “ in which greater than one-third but
less than two-thirds of the members of all proposed plaintiff classes in the aggregate ... are citizens
of the State in which the action was originally filed ....” Here all of the plaintiffs are Oklahoma
citizens.
       25
          The defendants, as the parties invoking federal jurisdiction, bear the burden of establishing
jurisdiction. See Radil, 384 F.3d at 1224.

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and its regulations, we may safely say Congress did not intend CERCLA to completely

preempt state laws related to hazardous waste contamination.”). “CERCLA as enacted

provides no private right of action for personal or economic injury caused by the release of

hazardous substances.” Id. at 1246 n.34. Individuals may “proceed with their state law

claims concurrently with a CERCLA remediation in place,” New Jersey Dep’t of

Environmental Protection v. Minnesota Mining & Man. Co., 2007 WL 2027916, at *6

(D.N.J. 2007), so long as they are not seeking relief that is inconsistent with ongoing

CERCLA-mandated remediation. See Cannon, 538 F.3d at 1332.

       The defendants assert that the court has jurisdiction under CERCLA because the

plaintiffs, in their petition, challenge an “ongoing CERCLA-quality cleanup.” Defendants’

response, p. 40. They claim the plaintiffs seek “sweeping injunctive relief to dramatically

alter the on-going cleanup that is progressing under the mandate of CERCLA and with EPA

oversight ....” Notice of Removal, ¶ 49. The plaintiffs respond that they have simply pleaded

state, common law causes of action, which do not provide a basis for removal jurisdiction.

       “Congress has provided for removal of cases from state court to federal court when

the plaintiff’s complaint alleges a claim arising under federal law.” Rivet, 522 U.S. at 472.

Generally the existence of federal-question jurisdiction is governed “‘by the ‘well-pleaded

complaint’ rule, under which a suit arises under federal law only when the plaintiff's

statement of his own cause of action shows that it is based on federal law.’” Turgeau v.

Admin. Review Bd., 446 F.3d 1052, 1060 (10th Cir. 2006) (quoting Schmeling v.

NORDAM, 97 F.3d 1336, 1339 (10th Cir.1996)). A case does not arise under federal law

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by either “the plaintiff’s anticipation of a federal defense or the defendant’s assertion of a

federal defense.” Id. “The plaintiff is the ‘master of the claim’ and may prevent removal [to

federal court] by choosing not to plead a federal claim even if one is available.” Id. (internal

citation omitted).

       The Supreme Court has developed two narrow exceptions to the well-pleaded

complaint rule: the complete preemption doctrine, Nicodemus v. Union Pacific Corp., 440

F3d.1227,1232 n.4 (10th Cir. 2006) and the substantial federal question doctrine. Grable &

Sons Metal Prods., Inc. v. Darue Eng’r & Mfg., 545 U.S. 308, 312 (2005). The complete

preemption doctrine allows a state law cause of action to be removed to federal court on the

theory that “federal preemption makes the state law claim necessarily federal in character.”

Turgeau, 446 F.3d at 1061 (internal quotation omitted). Because CERCLA does not

completely occupy the field of environmental regulation, the complete preemption doctrine

does not apply here. Under the substantial-federal-question doctrine, a state law claim can

give rise to federal question jurisdiction, even though Congress has not created a private right

of action, if the right to relief depends on the validity, construction, or effect of federal law.

Grable, 545 U.S. at 312.

       The plaintiffs contend the defendants have not identified an actual dispute about

federal law and, at best, have a preemption defense to a potential remedy. They assert that

their “request for equitable relief,[which] only potentially, if at all, implicates federal law,”

does not confer jurisdiction over their claims. Plaintiffs’ motion, p. 26. Relying principally

on Ninth Circuit cases, including Fort Ord Toxics Project, Inc. v. California Envtl. Protection

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Agency, 189 F.3d 828 (9th Cir. 1999) and ARCO Envtl. Remediation, L.L.C. v. Dep’t of

Health & Envtl. Quality, 213 F.3d 1108 (9th Cir. 2000), the defendants respond that

jurisdiction exists because federal courts have jurisdiction under CERCLA § 113(b) over any

challenges to a CERCLA cleanup and the plaintiffs, through their request for affirmative

injunctive relief, have challenged the cleanup.

       Few cases have addressed the issue of whether “CERCLA’s involvement with ... state

law claims [is] sufficient to warrant the district court’s independent exercise of federal

jurisdiction,” General Elec., 467 F.3d at1242 n.29 (citing Grable, the Tenth Circuit noted, but

did not address the issue, as the district court properly exercised supplemental jurisdiction

over the plaintiff’s state law claims). Those that have are not in agreement. Compare Arco,

213 F.3d at 1115-1626 with New Jersey Dep’t of Envtl. Protection v. Occidental Chemical

Corp., 2006 WL 2806231 (D.N.J. 2006)(limiting federal jurisdiction to completely

preempted state law claims)27

       26
         In ARCO the Ninth Circuit initially concluded that CERCLA did not completely preempt,
but might provide a conflict preemption defense to, the plaintiffs’ state law claims. The court
proceeded to determine whether ARCO's claims were “necessarily federal in character” because
CERCLA’s jurisdictional provisions deprived the state court of jurisdiction, id. at 1115, and then
considered whether federal jurisdiction existed because “some substantial, disputed question of
federal law is a necessary element of one of the well-pleaded state claims.” Id. at 1116 ( internal
quotation omitted). It is unclear whether, as one court put it “ the Ninth Circuit appl[ies] a more
expansive view of when a federal court has jurisdiction over claims based solely on state law,” New
Jersey Dep’t of Envtl. Protection v. Occidental Chemical Corp., 2006 WL 2806231, at *9 (D.N.J.
2006), or just articulates the exceptions to the well-pleaded complaint rule differently.
       27
         The New Jersey court concluded that, under Third Circuit precedent, a state law claim
could be deemed to arise under federal law only if there was complete preemption. Occidental, 2006
WL 2806231, at *9. The court did not discuss Grable or the substantial federal question doctrine,
relying on Goepel v. Nat’l Postal Mail Handlers Union, 36 F.3d 306 (3d Cir. 1994), a 1994 Third
Circuit decision.

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       In Grable the Supreme Court announced a new test for determining when a state-law

claim gives rise to federal jurisdiction, occasioned by a split among the Circuit Courts “on

whether Merrell Dow Pharmaceuticals Inc. v. Thompson, 478 U.S. 804, 106 S.Ct. 3229, 92

L.Ed.2d 650 (1986), always requires a federal cause of action as a condition for exercising

federal-question jurisdiction.” Id. at 311-12. The Court concluded that the lack of a federal

cause of action did not preclude a lawsuit’s removal to federal court. The test is whether “a

state-law claim necessarily raise[s] a stated federal issue, actually disputed and substantial,

which a federal forum may entertain without disturbing any congressionally approved

balance of federal and state judicial responsibilities.” Grable, 545 U.S. at 314.

       The plaintiff in Grable brought a quiet title action against the purchaser of property

it had previously owned, but which the Internal Revenue Service (“IRS”) had seized and sold

to the defendant at a tax sale. The plaintiff claimed the IRS had given a deficient notice of

seizure under a federal statute. The defendant removed the case to federal district court,

contending that the plaintiff's claim of title depended on the interpretation of a federal tax

law. The Supreme Court concluded that the meaning of the federal statute was actually in

dispute because an essential element of the plaintiff’s claim was whether it had been given

notice as required by the tax law. The Court also found that, because state quiet title actions

rarely involve contested issues of federal law, exercising federal jurisdiction in the case

“would not materially affect, or threaten to affect, the normal currents of litigation.” Id. at

319.

       As this case is factually distinct from Grable, it offers little guidance in the court’s

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task of determining whether the plaintiffs’ claims present a substantial federal question

justifying removal or if “this is a case of conflict preemption.”28 General Elec., 467 F.3d at

1244. Support for the conclusion that the plaintiffs’ claims raises disputed and substantial

federal issues regarding the scope and impact of CERCLA is found in ARCO, 213 F.3d at

1115-16. In that case the Ninth Circuit had to determine whether the district court had

removal jurisdiction over a suit ARCO brought in state court to obtain documents from the

State of Montana pertaining to a CERCLA cleanup and to enjoin certain closed-door

meetings. ARCO’s claims were based entirely on state law. The answer depended, the Ninth

Circuit found, on “whether CERCLA’s jurisdictional provisions deprive[d] the Montana state

court of jurisdiction over [the] case, thereby making ARCO’s claims ‘necessarily federal in

character.” Id. at 1115. The court noted that it had expansively read § 113(b) of CERCLA,

finding that it conferred on the federal district courts exclusive original jurisdiction over both

claims created by/controversies arising under CERCLA and “‘any challenge to a CERCLA

cleanup.’” Id. (quoting Fort Ord, 189 F.3d at 832). ARCO’s claims were “necessarily

federal claims under section 113(b),” the Ninth Circuit stated, “only if they constitute[d] a

‘challenge to a CERCLA cleanup.’” Id.

       The court defined such a challenge as an action that is “related to the goals of the

cleanup,” id. (internal quotation omitted), giving as examples cases in which the plaintiff


       28
         “‘Conflict preemption’ occurs where it is impossible to comply with both the federal and
state laws, or the state law stands as an obstacle to the accomplishment of Congress’s objectives.”
Denver, 100 F.3d at 1512.


                                                22
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sought to dictate specific remedial actions, to postpone the cleanup and to terminate the

Remedial Investigation/Feasibility Study and to alter the method and order of cleanup. Id.

The court emphasized that “an action d[id] not become a challenge to a CERCLA cleanup

simply because the action has an incidental effect on the progress of a CERCLA cleanup.”

Id. Because the relief sought by ARCO did not “alter cleanup requirements or environmental

standards,” or “terminate or delay the … cleanup,” it was not “related to the goals of the …

cleanup” and did not arise under CERCLA § 113(b).” Id.;see Fort Ord, 189 F.3d at 832

(court rejected plaintiffs’ “cramped interpretation” of § 113(b) of CERCLA, instead reading

it to “cover any ‘challenge’ to a CERCLA cleanup”).

       Although a close question, the court agrees with the Ninth Circuit’s conclusion that

a district court has jurisdiction over state law claims that challenge a CERCLA cleanup

because they implicate significant federal issues.29 See North Penn Water Auth. v. BAE

Systems, 2005 WL 1279091, at *10-11 (E.D.Pa. 2005) (state law claims involving a direct

challenge to a CERCLA cleanup completely preempted). Both the government and parties

participating in a CERCLA cleanup have a strong interest in ensuring that CERCLA’s

objectives are accomplished without “time-consuming litigation which might interfere with

CERCLA’s overall goal of effecting the prompt cleanup of hazardous waste sites.” Denver,

100 F.3d at1514. The court finds that “providing a federal forum for the resolution of this



       29
         The court also agrees with the district court in Occidental, 2006 WL 2806231, at *9 that
the rationale of the Ninth Circuit’s decisions regarding jurisdiction under CERCLA is not entirely
clear.

                                               23
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issue will not disrupt the sound division of labor between state and federal courts.”

Nicodemus, 440 F.3d at 1237 (internal quotation omitted).

       Having concluded that a federal court would have jurisdiction over a plaintiff’s state

law claims which challenge a CERCLA cleanup, the question then becomes whether the

cleanup at issue in this case is “a CERCLA cleanup” for federal question purposes and

whether plaintiffs are challenging that cleanup.

       The latter question is easy enough. The plaintiffs’ petition specifically attacks, in

multiple ways, the “purported” remedial efforts to date:

       Indeed, none of Defendants’ purported “remediation efforts” were effective
       or comprehensive. In fact, Defendants’ investigation and attempted
       remediation has been and continues to be nothing more than a sham designed
       to deceive the citizens of Blackwell. The testing protocols and threshold clean
       up levels employed by Defendants are designed to minimize findings of
       contamination, wholly fail to investigate contamination inside residents’
       homes, and turn a blind eye to well-established and widely accepted
       benchmarks, such as those adopted and endorsed by the EPA.

Petition, ¶ 14. The plaintiffs further allege the manner in which the defendants operated,

closed and remediated the site was “woefully inadequate and further jeopardized the safety

and welfare of all individuals residing in and around Blackwell.” Id., ¶ 17. It is plain that

the plaintiffs are more than a little critical of the cleanup efforts to date.

       Simply being critical is not enough, though, to constitute a “challenge” to a cleanup

in this context. The question is whether the plaintiffs’ lawsuit challenges the remediation

action by calling into question the remediation plan. Cannon, 538 F.3d at 1335. As

explained by the Tenth Circuit, “a suit challenges a removal action if it ‘interferes with the


                                               24
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implementation of a CERCLA remedy’ because ‘the relief requested will impact the

[removal] action selected.’” Id. (quoting Broward Gardens Tenants Ass’n v. EPA, 311 F.3d

1066, 1072 (11th Cir. 2002)). However, given the pervasive nature of the plaintiffs’

criticisms of the cleanup to date and the scope of relief sought relative to the existing plan,30

the court readily concludes that plaintiffs have “challenged” the cleanup plan for present

purposes. See General Elec., 467 F.3d at 1250 (“The State’s argument that remediation in

the South Valley is not working as the EPA and NMED claim constitutes a dispute over

environmental cleanup methods and standards.”).

       The question of whether the plaintiffs are challenging a “CERCLA cleanup,” as that

phrase is used in the context of determining federal question jurisdiction, is considerably

closer. The plaintiffs essentially argue that the remediation efforts to date have been an

ODEQ-mandated cleanup, rather than a “CERCLA cleanup.” They argue that the EPA has

made no formal determination of a hazardous release within the meaning of CERCLA, that

it did not place the Site on the National Priorities List, and that it had no direct role in the

cleanup efforts. They therefore argue that the EPA was not acting under CERCLA to

“arrange for the removal of ... [a] hazardous substance.” 42 U.S.C. §9604(a)(1). They assert

that the MOU with ODEQ was an express deferral of its authority under CERCLA, rather

than an exercise of it.


       30
         The plaintiffs seek damages for the decrease in their property values, which essentially
challenges the scope of the cleanup. They seek damages for loss of use of, or interference with,
groundwater — another operable unit under the remediation plan. They also seek injunctive relief
for expanded remediation and for medical monitoring of individuals in the area.

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       Defendants respond that they were required to remediate the Site to federal standards

set out in, or promulgated pursuant to, CERCLA, and that this dispute therefore constitutes

a controversy arising under CERCLA. They note the extensive involvement of the EPA in

reviewing the plan at various times prior to its adoption and to its extensive monitoring role

during plan implementation.

       The parties have not supplied, and the court has not otherwise located, statutory or

other authority specifically addressing the circumstances here — where the EPA plainly

wanted a cleanup to be done, insisted that the cleanup be done according to CERCLA

standards and subject to extensive EPA oversight and monitoring, but did not actually do the

cleanup itself or order it to be done. The evidence suggests that the approach adopted by the

EPA as to the Blackwell site was part of a pilot program designed to rely on state

enforcement resources, recognizing that the EPA did not have the resources to directly

address every potential site.

       While there is considerable force to the defendants’ argument that the cleanup efforts

in Blackwell were, in substance, a CERCLA cleanup, the court nonetheless concludes that,

in these circumstances, the formal steps taken or not taken by the parties control the

designation of the cleanup. The most pertinent document for purposes of characterizing the

cleanup efforts at the Blackwell site is the MOU entered into between the EPA and ODEQ,

which specifically addressed the basis upon which the parties would go forward. That

document recites EPA has received information that there “may” have been a release of

hazardous substances but that, as of that date, it had “made no determination as to whether

                                             26
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there may be a release or a threatened release.” MOU, ¶ I-B. It also reflected EPA’s

recognition that, under CERCLA, a determination by it that a release had occurred would

trigger its authority to initiate, or arrange for the initiation of, appropriate removal or

remedial action. However, the MOU also explicitly reflects the EPA’s decision to defer

making that release determination, in deference to the ongoing state enforcement efforts and

in recognition of its own limited resources. Although the EPA retained the right under the

MOU to declare it terminated if dissatisfied with the nature or progress of cleanup efforts,

there is no indication in the submissions of the parties to suggest that it has ever done so.

The references to the site in EPA status records continue to identify the site as one “deferred

for further action under State authority” with no suggestion of any formal determination or

assertion of authority having been made by the EPA.31

       In these circumstances, the court concludes there has been neither a determination of

release sufficient to trigger a formal EPA response, 42 U.S.C. §9604, nor the “selection” of

a remedy within the meaning of 42 U.S.C. § 9621 and 40 C.F.R. § 300.430. A cleanup

initiated solely under State authority, even if agreed to be conducted consistent with

“CERCLA standards” and with the threat of EPA enforcement lurking in the background,

does not constitute a “CERCLA cleanup” such as would, upon a challenge to it being

initiated, implicate federal jurisdiction. Any other conclusion would permit non-federal

parties to turn any cleanup into a “CERCLA cleanup” merely by agreeing to do the cleanup



       31
            Notice of Removal, Exhibit L, Site Description.

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to CERCLA standards. The cases addressing federal question jurisdiction in this context

plainly contemplate something more.

       The court concludes the plaintiffs’ claims, though highly critical of the Blackwell site

cleanup, do not constitute a challenge to a “CERCLA cleanup.” As a result, they do not

create a basis for subject matter jurisdiction in this court. And even if a challenge to a

CERCLA cleanup was involved, the existence of jurisdiction would depend on a further

determination of whether the cleanup is ongoing. Where a CERCLA cleanup is ongoing,32

a federal court lacks jurisdiction to “review any challenges to removal or remedial action.”

42 U.S.C. §9613(h).

FEDERAL OFFICER REMOVAL JURISDICTION

       As the final basis for their removal of this action, the defendants rely on 28 U.S.C.

§1442(a),33 which provides:

       (a) A civil action or criminal prosecution commenced in a State court against
       any of the following may be removed by them to the district court of the
       United States for the district and division embracing the place wherein it is
       pending:

            (1) The United States or any agency thereof or any officer (or any person


       32
         Although the defendants’ current activities in Blackwell as to soil testing and further soil
remediation are arguably voluntary rather than part of an ongoing cleanup (the Soil Remediation
Unit of the cleanup was completed in 2001), the operational units of the site cleanup involving
groundwater and ecological remediation are ongoing. In light of the court’s determination as to
whether a CERCLA cleanup is involved, it is unnecessary to determine here whether — given the
use of multiple operational units — the pertinent cleanup is ongoing.
       33
        Because it is a “pure jurisdictional statute” that conditions removal on a federal defense,
§ 1442(a) creates an exception to the “well-pleaded complaint” rule. Mesa v. California, 489 U.S.
121, 136 (1989).

                                                 28
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            acting under that officer) of the United States or of any agency thereof, sued
            in an official or individual capacity for any act under color of such office or
            on account of any right, title or authority claimed under any Act of Congress
            for the apprehension or punishment of criminals or the collection of the
            revenue.


The defendants’ argument that jurisdiction exists under § 1442(a) is based on the role the

smelter played in conjunction with the United States’ efforts to prepare for and enter World

War II. In 1942, the Metals Reserve Company (“MRC”), a wartime organization whose

mission was to obtain strategic metals for the United States, entered into an agency

agreement with American Metals Company, Ltd. (“AMC”), the predecessor entity to Cyprus

Amax Minerals and parent company of BZC. Under the terms of the agreement,34 AMC was

to act as MRC’s “Agent,” Notice of Removal, Exhibit D, ¶24, and was to buy, “receive,

smelt and/or refine the ores and concentrates ....” Id. at ¶¶ 24-25. AMC also agreed to

stockpile MRC-owned zinc. Id. at ¶¶26, 31. AMC and its subsidiaries, including BZC,

operated as a consolidated organization in complying with the agreement.

       “A private corporation35 may remove a case under § 1442(a)(1), if it can show: (1) that

it acted under the direction of a federal officer; (2) that there is a causal nexus between the

plaintiff's claims and the acts the private corporation performed under the federal officer's




       34
            The agreement lasted from May, 1942 until May 31, 1944.
       35
        The plaintiffs concede that the defendants are “persons” for purposes of the statute. See
Isaacson v. Dow Chem. Co., 517 F.3d 129, 135-36 (2d Cir. 2008)

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direction; and (3) that there is a colorable federal defense to the plaintiff's claims.” 36 Greene

v. Citigroup, Inc., 2000 WL 647190, at *2 (10th Cir. May 19, 2000) (unpublished opinion).

Most courts, when considering the extent to which a defendant was acting under federal

direction “at the time they were engaged in conduct now being sued upon ... require ‘direct

and detailed control’ by the federal officer over the defendant.” Bahrs v. Hughes Aircraft

Co., 795 F.Supp. 965, 969 (D.Ariz. 1992) (quoting Ryan v. Dow Chem. Co., 781 F.Supp.

934, 950 (E.D.N.Y.1992)). Such control was found to exist in Winters v. Diamond

Shamrock Chem. Co.,149 F.3d 387, 398-401 (5th Cir. 1998). The Fifth Circuit concluded

in that case that a private company acted under the direction of a federal officer in

conjunction with a contract to supply Agent Orange where the government maintained strict

control over the product’s development and production, required the production to be done

in accordance with specifications set forth in the contract and documents referenced in the

agreement, and performed inspections. Winters, 149 F.3d at 398-401. When a plaintiff’s


       36
            The Supreme Court has explained the purposes behind § 1442(a)(1) as follows:

       [T]he Federal Government can act only through its officers and agents, and they
       must act within the States. If, when thus acting, and within the scope of their
       authority, those officers can be arrested and brought to trial in a State court, for an
       alleged offense against the law of the State, yet warranted by the Federal authority
       they possess, and if the general government is powerless to interfere at once for their
       protection,-if their protection must be left to the action of the State court,-the
       operations of the general government may at any time be arrested at the will of one
       of its members.

Mesa, 489 U.S. at 126 (quoting Tennessee v. Davis, 100 U.S. 257, 263, 25 L.Ed. 648 (1880)).
“Removal pursuant to § 1442(a)(1) is thus meant to ensure a federal forum in any case where a
federal official is entitled to raise a defense arising out of his official duties.” Winters v. Diamond
Shamrock Chem. Co., 149 F.3d 387, 397 (5th Cir. 1998) (internal quotations omitted).

                                                  30
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claims are based on pollution or contamination resulting from a facility’s waste disposal,

courts have required the removing party to show “the federal government exercised control

over the disposal of hazardous substances.” Ward, 2006 WL 889729, at *5.

       The plaintiffs contend that, while the defendants have demonstrated that BZC

contracted with the federal government to produce and store zinc, they cannot show that the

contamination was done under the direction of a federal officer.37 The defendants respond

that the plaintiffs ignore both the fact the AMC/BZC acted as an express agent of the

government and the extent to which the Smelter “was dedicated to meeting the wartime needs

of the Federal Government.” Defendants’ response, p. 63. The defendants claim that they

have shown that AMC and BZC were “acting under” a federal officer, as that term has been

recently defined by the Supreme Court in Watson v. Philip Morris Cos., Inc., 551 U.S. 142

(2007). They assert that the Court explained that “the private person’s ‘acting under’ must

involve an effort to assist, or to help carry out the duties or tasks of the federal superior,” id.

at ___, and identified “assisting” relationships, two of which are present here. Because AMC

and BZC “provid[ed] the Government with a product that it used to help conduct a war,” id.

at ___, and had a “special [agency] relationship” with the government, the “acting under”

requirement of § 1442(a) has, the defendants contend, been met.

       The defendants focus on only part of the Supreme Court’s opinion, however, ignoring


       37
        The plaintiffs also argue the defendants have not shown they have a colorable federal
defense. Because the court agrees that the defendants have not satisfied the “acting under”
requirement of the statute or the “causal nexus” requirement, it need not determine whether the
defendants have asserted a colorable federal defense.

                                                31
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its statement that the word “under” as used in the statute

       must refer to what has been described as a relationship that involves “acting
       in a certain capacity, considered in relation to one holding a superior position
       or office.” 18 Oxford English Dictionary 948 (2d ed.1989). That relationship
       typically involves “subjection, guidance, or control.” Webster's New
       International Dictionary 2765 (2d ed.1953). See also Funk & Wagnalls New
       Standard Dictionary of the English Language 2604 (1942) (defining “under”
       as meaning “[s]ubordinate or subservient to,” “[s]ubject to guidance, tutorship,
       or direction of”); 18 Oxford English Dictionary, supra, at 949 (“[s]ubject to the
       instruction, direction, or guidance of”).

Id. at ___. The requirement that the private person be an “assisting relationship” is in

addition to the requirement that the person be in a relationship involving “subjection,

guidance, or control.” Id. In Watson, the court held that “[t]he upshot is that a highly

regulated firm cannot find a statutory basis for removal in the fact of federal regulation

alone.” Id. at ___. Here, a company that was not closely regulated or supervised cannot find

a statutory basis for removal solely in the fact that it “help[ed] the Government to produce

an item that it need[ed].” Id.38

       The defendants have demonstrated that the government clearly had a “significant war-

time interest in the operation of the Smelter,” defendants’ response, p. 61. However, while

operation of the smelter may have been “of utmost importance to the country’s war effort”


       38
         The court is not persuaded that Isaacson, 517 F.3d at 136-38 dictates a different result.
The court focused in Isaacson on the “special relationship” required by Watson for a private
contractor to satisfy the “acting under” prong of § 1442(a). Id. at 136-37. The plaintiffs’ claims
in Isaacson, like those in Winters, were based on the defendant chemical companies’ production of
Agent Orange for military use in the Vietnam War. Presumably the government exercised the same
kind of detailed control over the Isaacson defendants’ production and formulation of the herbicide,
as it did over the Winters’ defendants, eliminating any need for the Second Circuit to discuss
§1442(a)’s requirement of “detailed regulation, monitoring, or supervision.” Watson, 551 U.S. at
___.

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and the smelter may have been “in large part dedicated to performing tasks for the Federal

Government during this critical time period, id. p. 64, the defendants have not demonstrated

an unusually close [relationship] involving detailed regulation, monitoring, or supervision”

id. at ___ required to bring AMC/BZC “within the scope of the statutory phrase ‘acting

under’ a federal ‘officer.’” Id. at ___; Bahrs, 795 F.Supp. at 969-70; Brown v. Delta Air

Lines, Inc., 2004 WL 5041257 (W.D.Okla. 2004) (to demonstrate they were acting under the

direction of a federal officer or agency defendants had to “show that their actions were

performed pursuant to an officer’s direct orders or comprehensive and detailed regulations....

The official must have [had] direct and detailed control over the defendant[s].”) (internal

quotation omitted); see Ward, 2006 WL 889729 at *4-5. Removal was not, therefore,

authorized under §1442(a)(1).39

       While this case presents a number of close and difficult questions, the court concludes

defendants have not established a basis for federal jurisdiction under any of the theories they

have identified. Accordingly, plaintiffs’ motion to remand [Doc. #78] is GRANTED. This

case is REMANDED to the District Court of Kay County, State of Oklahoma. As the court

does not find the issues the plaintiffs seek to address in their supplemental brief to be

dispositive, their motion for leave to file a supplemental brief [Doc. #179] is DENIED.




       39
          The court has considerable doubt whether government actions of sixty years ago, and
which preceded the Blackwell plant’s closure by thirty years, could plausibly be said to be causally
related to the plaintiffs’ claims. However, in light of the court’s disposition of the “acting under”
element, it is unnecessary to belabor the point.

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IT IS SO ORDERED.

Dated this 27th day of April, 2009.




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